


  
  Court of Criminal Appeals  Opinions | Tennessee Administrative Office of the Courts
  
  
  
    

  



  
  
  
  
      









    
      
        
          Tennessee Administrative Office of the Courts        

          


  
  Court of Criminal AppealsAbout
News
Judges
Opinions
Oral Arguments
Rules
CCA Oral Argument Videos

Supreme Court
Court of Appeals
Appellate Court Clerk's Office
Circuit, Criminal, Chancery &amp; Business Courts
General Sessions Courts
Juvenile &amp; Family Courts
Municipal Courts
Court Clerks
Court Rules


  

  

  SEARCH TNCOURTS.GOV:

  

  
 Search this site: 
 








  

  


  Connect with us on Twitter
Help Center
Opinions &amp; News Feeds
View Photos on Flickr
Podcast
Subscribe To Our YouTube
Appellate E-Filing

  

  


  ADA Policy
Title VI - Title IX
Employment
Board of Judicial Conduct
Records Policy
Privacy Policy
Site Map
Contact Us

  

        
        
          Administrative Office of the Courts
          511 Union Street, Suite 600 
          Nashville, TN 37219
          © 2022 Tennessee Courts System
        
      
    

  
  

    
                                

      
          


  CourtsSupreme CourtCourt of AppealsCourt of Criminal AppealsAppellate Court Clerk's OfficeCircuit, Criminal, Chancery &amp; Business CourtsGeneral Sessions CourtsJuvenile &amp; Family CourtsMunicipal CourtsCourt ClerksCourt RulesProgramsAccess to JusticeCourt ImprovementCourt InterpretersCourt ReportersGAVELS ProgramIndigent DefenseMediationParenting PlanRFPs/GrantsSCALES ProjectSelf Help CenterAdministrationContinuing Legal EducationJudicial ResourcesHuman ResourcesPolicy ManualTraining CoursesLinksHistoryMemorialsForms &amp; PublicationsCourt FormsGuides &amp; ResourcesOther FormsPublicationsReportsStatistical ReportsCriminal Justice Handbook Order FormBoards &amp; CommissionsBoard of Judicial ConductBoards and CommissionsAdvisory Task Force on Composition of Judicial DistrictsIndigent Representation Task ForceE-FilingAppellate E-FilingE-Filing
  

      
	  
	    
	  

    

    You are here: Home&nbsp;&nbsp;&gt;&nbsp;&nbsp;Courts&nbsp;&nbsp;&gt;&nbsp;&nbsp;Court of Criminal Appeals&nbsp;&nbsp;&gt;&nbsp;&nbsp;print    


    
  
    
  
  Court of Criminal Appeals  Opinions	

	
    
          
        

  
          
                  
            Court          
                        
          
 

        
      
          
                  
            County          
                        
          
 

        
      
          
                  
            Authoring Judge          
                        
          
 

        
      
          
                  
            Originating Judge          
                        
          
 

        
      
          
                  
            Date Filter          
                        
          
 
 
  Format: 05/11/2022




 And: 
 
 
  Format: 05/11/2022



        
      
          
                  
            Case Number          
                        
          
 

        
      
          
                  
            Case Name          
                        
          
 

        
      
          
                  
            keyword search          
                        
          
 

        
      
              
        
 Sort by: 
 

      
      
        
 Order: 
 

      
                
      
    
          
        
      
      



      
    
    
          
        
    
    
              
                  
              
                  
              
                  
              
                  
              
                  
              
                  
          
  
  
                  
                      
              Darrell Wren v. State of Tennessee-DISSENTW2021-00485-CCA-R3-PCAuthoring Judge: Judge Timothy L. EasterTrial Court Judge: Judge John Wheeler Campbell            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              05/11/22            
                      
                          
                      
                          
                  
                        
                      
              Darrell Wren v. State of TennesseeW2021-00485-CCA-R3-PCAuthoring Judge: Judge Timothy L. EasterTrial Court Judge: Judge John Wheeler CampbellI respectfully disagree that the interests of justice are best served by granting a waiver of Petitioner’s untimely notice of appeal in this case. The notice of appeal, although only tardy by seven days, was nonetheless untimely. Petitioner has not sought waiver and offers no reason for such a break. Even after having an opportunity to reply to the State’s argument that this Court should dismiss the Petitioner’s untimely appeal, the Petitioner did not. There is simply no basis upon which this Court may find that the “interests of justice” merit a waiver of the untimely filed notice of appeal. See State v. Rockwell, 280 S.W.3d 212, 214 (Tenn. Crim. App. 2007) (“If this [C]ourt were to summarily grant a waiver whenever confronted with untimely notices, the thirty-day requirement of Tennessee Rule of Appellate Procedure 4(a) would be rendered a legal fiction.”). Accordingly, I would find that the appeal should be dismissed.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              05/11/22            
                      
                          
                      
                          
                  
                        
                      
              Darrell Wren v. State of TennesseeW2021-00485-CCA-R3-PCAuthoring Judge: Judge Camille R. McMullenTrial Court Judge: Judge John Wheeler CampbellThe Petitioner, Darrell Wren, appeals the summary dismissal of his petition for postconviction relief as time-barred. He asserts on appeal that his petition was timely filed or alternatively that due process considerations warranted the tolling of the one-year statute of limitations mandated by Tennessee Code Annotated section 40-30-102(a). He further asserts that post-conviction counsel’s violation of Tennessee Supreme Court Rule 28 section 6(C) requires remand. Following our review, we affirm the dismissal of the petition.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              05/11/22            
                      
                          
                      
                          
                  
                        
                      
              Leah Ward v. State of TennesseeW2021-00952-CCA-R3-ECNAuthoring Judge: Judge James Curwood Witt, Jr.Trial Court Judge: Judge Jennifer Mitchell The petitioner, Leah Ward, appeals the dismissal of her petition for writ of error coram nobis, which petition challenged her 2005 Shelby County Criminal Court Jury conviction of first degree murder, arguing that the coram nobis court should have held a hearing on her petition. Discerning no error, we affirm.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              05/10/22            
                      
                          
                      
                          
                  
                        
                      
              David Frazier v. State of TennesseeW2021-01475-CCA-R3-HCAuthoring Judge: Judge James Curwood Witt, Jr.Trial Court Judge: Judge Carolyn Wade BlackettThe petitioner, David Frazier, appeals the summary dismissal of his petition for writ of habeas corpus, which petition challenged his Shelby County Criminal Court guilty-pleaded conviction of rape of a child, arguing that the trial court’s order denying habeas corpus relief does not contain sufficient factual and legal findings to facilitate appellate review. Discerning no error, we affirm.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              05/10/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. James R. CiaramitaroW2021-00046-CCA-R3-CDAuthoring Judge: Judge Robert W. WedemeyerTrial Court Judge: Judge J. Weber McCrawA Fayette County jury convicted the Defendant, James R. Ciaramitaro, of one count of rape of a child and two counts of aggravated sexual battery, and the trial court sentenced him to a total effective sentence of forty-four years. On appeal, the Defendant contends that the trial court erred when it admitted the victim’s forensic interview. The Defendant also contends that the evidence is insufficient to support his convictions and that the trial court erred when it sentenced him. After review, we affirm the trial court’s judgments.            
                      
              Fayette County            
                      
              Court of Criminal Appeals             
                      
              05/09/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Tadarius L. CliftM2021-00425-CCA-R3-CDAuthoring Judge: Presiding Judge John Everett WilliamsTrial Court Judge: Judge Monte Watkins The Defendant, Tadarius L. Clift, appeals his convictions for first degree premeditated murder and three counts of reckless endangerment, for which he received an effective sentence of life imprisonment plus four years.&nbsp; On appeal, the Defendant challenges the sufficiency of the evidence supporting the convictions and the trial court’s decision to limit defense counsel’s cross-examination of a witness for the State.&nbsp; Upon reviewing the record, the parties’ briefs, and the applicable law, we affirm the judgments of the trial court.&nbsp;&nbsp;            
                      
              Davidson County            
                      
              Court of Criminal Appeals             
                      
              05/09/22            
                      
                          
                      
                          
                  
                        
                      
              Corinio Pruitt v. State of TennesseeW2019-00973-CCA-R3-PDAuthoring Judge: Judge Jill Bartee Ayers Trial Court Judge: Judge Chris CraftPetitioner, Corinio Pruitt, was convicted in 2008 of first degree felony murder and was sentenced to death. After Petitioner’s conviction and sentence were affirmed by the Tennessee Supreme Court on direct appeal, Petitioner filed a post-conviction petition. After an extensive evidentiary hearing, the post-conviction court denied relief. In this appeal, Petitioner raises the following claims for relief: 1) the post-conviction judge erred by failing to recuse himself; 2) Petitioner is ineligible for the death penalty due to his intellectual disability, and trial counsel were ineffective in their handling of Petitioner’s intellectual disability claim at trial1; 3) trial counsel were ineffective for failing to investigate and present additional mitigating evidence regarding Petitioner’s traumatic social history, mental health, and cognitive impairments; 4) the prosecutors abused their discretion by seeking the death penalty in this case, operated under a conflict of interest, and committed misconduct by exercising peremptory strikes against African-American jurors and making inappropriate statements and arguments, and trial counsel were ineffective for failing to raise appropriate objections to these issues; 5) trial counsel rendered ineffective assistance during the course of voir dire, trial, closing argument, and jury instructions during the guilt phase; 6) the death penalty is unconstitutional and is a disproportionate sentence in this case; and 7) the cumulative effect of these errors rendered Petitioner’s trial fundamentally unfair. After a thorough examination of the briefs of the parties and amici curiae, the records of the post-conviction hearing and direct appeal, and the applicable law, this court affirms the judgment of the post-conviction court.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              05/06/22            
                      
                          
                      
                          
                  
                        
                      
              Emmanuel Deshawn Bowley v. State of TennesseeM2021-00390-CCA-R3-PCAuthoring Judge: Judge Robert H. Montgomery, Jr. Trial Court Judge: Judge Jill Bartee AyersThe Petitioner, Emmanuel Deshawn Bowley, appeals from the Montgomery County Circuit Court’s denial of his petition forpost-conviction relief from drug- and weapon-related convictions, for which he is serving an effective sixteen-year sentence.&nbsp; On appeal, he contends that (1) the post-conviction court erred in denying relief based upon his ineffective assistance of counsel claims related to trial counsel’s performance in the appeal of the convictions and (2) he is entitled to post-conviction relief due to the existence of multiple instances of ineffective assistance of counsel in the appeal of the convictions.&nbsp; We affirm the judgment of the post-conviction court.            
                      
              Montgomery County            
                      
              Court of Criminal Appeals             
                      
              05/06/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Eric Tyre PattonM2020-00062-CCA-R3-CDAuthoring Judge: Judge Norma McGee OgleTrial Court Judge: Judge Royce Taylor The Appellant, Eric Tyre Patton, was convicted in the Rutherford County Circuit Court of conspiracy to sell 150 grams or more of heroin and 300 grams or more of cocaine with at least one overt act occurring within a drug-free school zone (DFSZ) and possession of 300 grams or more of cocaine with intent to sell or deliver within a DFSZ.&nbsp; On appeal, the Appellant contends that the evidence is insufficient to support the convictions; that the trial court erred by denying his motion to suppress evidence obtained from GPS tracking devices and wiretaps; that the trial court erred by not requiring the State to identify four confidential informants (CIs); that the trial court erred by admitting testimony about a prior bad act and by denying his motion for a mistrial; that the trial court improperly instructed the jury on witness credibility; that the State improperly withheld exculpatory information in violation of Brady v. Maryland, 373 U.S. 83 (1963); and that he is entitled to relief under cumulative error.&nbsp; Based upon the oral arguments, the record, and the parties’ briefs, we find no reversible error and affirm the judgments of the trial court.&nbsp;&nbsp;            
                      
              Rutherford County            
                      
              Court of Criminal Appeals             
                      
              05/06/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. David Ian LemonsW2020-01613-CCA-R3-CDAuthoring Judge: Judge Norma McGee OgleTrial Court Judge: Judge Donald H. Allen The Appellant, David Ian Lemons, was convicted in the Madison County Circuit Court of eleven drug and weapons offenses, ranging from a Class A misdemeanor to a Class B felony. After a sentencing hearing, he received an effective twenty-three-year sentence as a Range II, multiple offender. On appeal, the Appellant contends that his effective sentence is excessive because the trial court improperly applied an enhancement factor and improperly ordered consecutive sentencing. The State acknowledges that while the trial court may have partially misapplied an enhancement factor, the Appellant’s twenty-three-year sentence is not excessive. Based upon the oral arguments, the record, and the parties’ briefs, we agree with the State and affirm the judgments of the trial court.            
                      
              Madison County            
                      
              Court of Criminal Appeals             
                      
              05/05/22            
                      
                          
                      
                          
                  
                        
                      
              Corey Dendy v. State of TennesseeW2020-01364-CCA-R3-PCAuthoring Judge: Judge Norma McGee OgleTrial Court Judge: Judge Chris CraftThe Petitioner, Corey Dendy, filed a petition for post-conviction relief from his conviction of aggravated robbery, alleging that trial counsel was ineffective for failing to contact a witness prior to the Petitioner’s guilty plea and that the Petitioner’s guilty plea was not knowingly and voluntarily entered. The post-conviction court denied relief, and the Petitioner appeals. Upon review, we affirm the judgment of the post-conviction court.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              05/05/22            
                      
                          
                      
                          
                  
                        
                      
              Cedric Evans v. State of TennesseeW2021-00379-CCA-R3-PCAuthoring Judge: Judge Robert L. Holloway, Jr.Trial Court Judge: Judge Kyle C. AtkinsCedric Evans, Petitioner, sought post-conviction relief from his guilty-pleaded convictions for second degree murder and felon in possession of a firearm, claiming that he received ineffective assistance of counsel. Following a hearing, the post-conviction court dismissed the petition. Discerning no error, we affirm.            
                      
              Madison County            
                      
              Court of Criminal Appeals             
                      
              05/05/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Corey Taylor M2021-00954-CCA-R3-CDAuthoring Judge: Judge Jill Bartee AyersTrial Court Judge: Judge Jennifer Smith Defendant, Corey Taylor, entered a guilty plea to aggravated assault and was sentenced to four years, suspended to supervised probation.&nbsp; Following a hearing on a warrant alleging a violation of probation based on new arrests and failure to report, the trial court found defendant in violation, revoked his probation, and ordered him to serve the remainder of his sentence in confinement.&nbsp; On appeal, Defendant argues that the trial court erred in declining to dismiss the probation violation warrant on speedy trial grounds.&nbsp; Following our review of the entire record and the briefs of the parties, we affirm the judgment of the trial court.&nbsp;            
                      
              Davidson County            
                      
              Court of Criminal Appeals             
                      
              05/04/22            
                      
                          
                      
                          
                  
                        
                      
              Alejandro Avila-Salazar v. State of Tennessee M2020-01605-CCA-R3-PCAuthoring Judge: Judge Jill Bartee AyersTrial Court Judge: Judge Mark J. FishburnPetitioner, Alejandro Avila-Salazar, appeals the post-conviction court’s refusal to vacate his guilty plea to second-degree murder after the vacating his guilty plea to attempted aggravated rape based on trial counsel’s failure to inform Petitioner that he would be subject to mandatory lifetime community supervision for the attempted aggravated rape conviction.&nbsp; The State argues that the post-conviction court erred by vacating the attempted aggravated rape conviction.&nbsp; Following our review of the entire record and the briefs of the parties, we reverse the judgment of the post-conviction court and remand the case for reinstatement of the original judgment of conviction and sentence previously imposed for attempted aggravated rape.&nbsp;            
                      
              Davidson County            
                      
              Court of Criminal Appeals             
                      
              05/04/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Darick A. HinermanM2021-00251-CCA-R3-CDAuthoring Judge: Judge Robert H. Montgomery, Jr. Trial Court Judge: Judge Jill Bartee AyersThe Defendant, Darick A. Hinerman, was convicted by a Robertson County Circuit Court jury of first degree premeditated murder.&nbsp; See T.C.A. § 39-13-202 (2018) (subsequently amended).&nbsp; The trial court imposed a sentence of life imprisonment.&nbsp; On appeal, the Defendant contends that (1) the evidence is insufficient to support his conviction, (2) the trial court erred by denying his motion to suppress evidence recovered during a warrantless search, and (3) the trial court erred during jury instructions.&nbsp; We affirm the judgment of the trial court.            
                      
              Robertson County            
                      
              Court of Criminal Appeals             
                      
              05/04/22            
                      
                          
                      
                          
                  
                        
                      
              Randy Oscar Blakeney v. State of TennesseeE2021-00508-CCA-R3-CDAuthoring Judge: Judge Norma McGee OgleTrial Court Judge: Judge Kyle A. HixsonThe Petitioner, Randy Oscar Blakeney, pled guilty in the Knox County Criminal Court to first degree murder and especially aggravated robbery and received a sentence of life plus forty years in confinement. Subsequently, he filed a petition requesting DNA analysis of evidence pursuant to the Post-Conviction DNA Analysis Act of 2001. The post-conviction court summarily denied the petition, and the Petitioner appeals. Based upon our review of the record and the parties’ briefs, we affirm the judgment of the post-conviction court.            
                      
              Knox County            
                      
              Court of Criminal Appeals             
                      
              05/03/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Larry Donnell Higgins, Jr. - Concur in Part/Dissent in PartW2021-00316-CCA-R3-CDAuthoring Judge: Judge Jill Bartee AyersTrial Court Judge: Judge Donald H. AllenI agree with the majority’s conclusion that the evidence sufficiently supports the jury’s verdict. However, I respectfully dissent from the majority’s holding that the trial court abused its discretion by denying Defendant’s motion for a mistrial. As noted by the majority, the decision to enter a mistrial rests within the trial court’s discretion. State v. Bell, 512 S.W.3d 167, 187 (Tenn. 2015); State v. Reid, 91 S.W.3d 247, 279 (Tenn. 2002). “This court will not interfere with the trial court’s decision absent an abuse of discretion.” State v. Jones, 568 S.W.3d 101, 126 (Tenn. 2019) (quoting Bell, 512 S.W.3d at 187). A mistrial should only be declared if there is manifest necessity. State v. Saylor, 117 S.W.3d 239, 250 (Tenn. 2003). Manifest necessity arises “when a trial cannot continue, or a miscarriage of justice would result if it did.” State v. Land, 34 S.W.3d 516, 527 (Tenn. Crim. App. 2000). “The purpose for declaring a mistrial is to correct damage done to the judicial process when some event has occurred which precludes an impartial verdict.” State v. Williams, 929 S.W.2d 385, 388 (Tenn. Crim. App. 1996). The party seeking a mistrial has the burden of establishing its necessity. State v. Banks, 271 S.W.3d 90, 137 (Tenn. 2008).            
                      
              Madison County            
                      
              Court of Criminal Appeals             
                      
              05/02/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Larry Donnell Higgins, Jr.W2021-00316-CCA-R3-CDAuthoring Judge: James Curwood Witt, Jr.Trial Court Judge: Judge Donald H. AllenAggrieved of his Madison County Circuit Court Jury convictions of simple possession of marijuana, possession with intent to deliver not less than one-half ounce of marijuana, possession of a firearm with intent to go armed during the commission of a dangerous felony, and possession of a firearm after having been convicted of a felony crime of violence, the defendant, Larry Donnell Higgins, Jr., appeals, challenging the sufficiency of the convicting evidence and the denial of his motion for a mistrial. Because the trial court abused its discretion by denying the motion for mistrial, we reverse the judgments of the trial court and remand the case for a new trial.            
                      
              Madison County            
                      
              Court of Criminal Appeals             
                      
              05/02/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Felipe Gonzalez-MartinezE2021-00322-CCA-R3-CDAuthoring Judge: Judge James Curwood Witt, Jr.Trial Court Judge: Judge O. Duane SloneThe defendant, Felipe Gonzalez-Martinez, appeals his Jefferson County Circuit Court Jury convictions of rape of a child, arguing that the trial court erred by denying his motion to suppress his pretrial statement to the police, by admitting into evidence a video recording of the interview that produced his statement, by admitting into evidence handwritten notes exchanged by the defendant and the victim, and by imposing consecutive sentences. Discerning no error, we affirm.            
                      
              Jefferson County            
                      
              Court of Criminal Appeals             
                      
              05/02/22            
                      
                          
                      
                          
                  
                        
                      
              Billy James Matthews v. State of TennesseeW2021-00898-CCA-R3-PCAuthoring Judge: Judge Timothy L. EasterTrial Court Judge: Judge Kyle C. AtkinsAs the result of a guilty plea to rape and robbery entered over 18 years ago, Billy James Matthews, Petitioner, was sentenced to an effective sentence of ten years. See Billy James Matthews v. State, No. W2005-02939-CCA-R3-PC, 2006 WL 2843291 (Tenn. Crim. App. Oct. 5, 2006), perm. app. denied (Tenn. Jan. 22, 2007). After the denial of habeas corpus relief, see Billy James Matthews v. Warden Glenn Turner, No. W2004-01547-CCA-R3- HC, 2005 WL 957112, at *1 (Tenn. Crim. App. Apr. 26, 2005), and post-conviction relief, Billy James Matthews v. State, 2006 WL 2843291, at *1, Petitioner sought relief via the Post-Conviction DNA Analysis Act of 2001. The post-conviction court dismissed the petition without a hearing. Petitioner filed an untimely notice of appeal. Because the interests of justice do not mandate waiver of the timely filing of the notice of appeal, the appeal is dismissed.            
                      
              Madison County            
                      
              Court of Criminal Appeals             
                      
              04/29/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Demario Quintez DriverM2021-00538-CCA-R3-CDAuthoring Judge: Judge Robert W. WedemeyerTrial Court Judge: Judge David D. WolfeA Cheatham County jury convicted the Defendant, Demario Quintez Driver, of rape and coercion of a witness, and the trial court sentenced him to sixteen years in the Tennessee Department of Correction.&nbsp; On appeal, the Defendant asserts that the evidence is insufficient to support his conviction for rape and that the State’s closing argument amounted to prosecutorial misconduct.&nbsp; After a thorough review of the record and the applicable law, we affirm the trial court’s judgments.            
                      
              Cheatham County            
                      
              Court of Criminal Appeals             
                      
              04/29/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Patti Elizabeth SmithE2021-00394-CCA-R3-CDAuthoring Judge: Judge James Curwood Witt, Jr.Trial Court Judge: Judge Barry SteelmanThe defendant, Patti Elizabeth Smith, appeals the denial of her Tennessee Rule of Criminal Procedure 35 motion to reduce the sentence imposed for her 2018 guilty-pleaded conviction of reckless endangerment. Because the defendant has served the entirety of her sentence and been released from custody, we dismiss the appeal as moot.            
                      
              Hamilton County            
                      
              Court of Criminal Appeals             
                      
              04/29/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Jacady Dwight TerryE2021-00406-CCA-R3-CDAuthoring Judge: Judge D. Kelly Thomas, Jr. Trial Court Judge: Judge Sandra DonaghyThe Defendant, Jacady Dwight Terry, was convicted by a jury of violating the motor vehicle habitual offender (“MVHO”) law, for which he received a five-year sentence. On appeal, the Defendant argues that the trial court erred (1) by admitting the MVHO order into evidence because it was void; (2) by concluding that the MVHO violation was a strict liability offense and declining to give a mens rea instruction; and (3) by refusing to apply the “lesser penalty” provision of the criminal savings statute to the Defendant’s sentence.1 Following our review, we affirm.            
                      
              Monroe County            
                      
              Court of Criminal Appeals             
                      
              04/29/22            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Arthur M. StewartM2021-00595-CCA-R3-CDAuthoring Judge: Judge J. Ross DyerTrial Court Judge: Judge Brody N. KaneThe defendant, Arthur M. Stewart, appeals the order of the trial court revoking his probation and ordering him to serve his original four-year sentence in confinement.&nbsp; Upon our review of the record and the parties’ briefs, we affirm the revocation of the defendant’s probation but reverse the trial court’s imposition of the original sentence and remand for the trial court to make findings concerning the consequence imposed for the revocation in accordance with State v. Craig Dagnan, --- S.W.3d ---, 2022 WL 627247 (Tenn. Mar. 4, 2022).&nbsp;            
                      
              Wilson County            
                      
              Court of Criminal Appeals             
                      
              04/27/22            
                      
                          
                      
                          
                  
            


      
    
          1
2
3
4
5
6
7
8
9
…
next ›
last »
    
    
    
    
      
     

    
    
  



  




